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 1                                                                                     Hon. James L. Robart

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 5
                                     UNITED STATES DISTRICT COURT
 6                                  WESTERN DISTRICT OF WASHINGTON
                                              AT SEATTLE
 7
       AUBRY MCMAHON,
 8                                                            Case No.: 2:21-cv-00920-JLR
                       Plaintiff,
 9                                                            PLAINTIFF’S MOTION FOR
               v.                                             SUMMARY JUDGMENT
10                                                            ON LIABILITY
       WORLD VISION, INC.,
11                                                            NOTE DATE: MAY 5, 2023
                       Defendant.
12

13                                       I.        INTRODUCTION

14            Plaintiff Aubry McMahon (“Plaintiff”) moves this Court for an order granting summary

15   judgment against Defendant World Vision, Inc. (“Defendant” or “World Vision”) on her claims that

16   it unlawfully discriminated against her in violation of Title VII of the Civil Rights Act of 1964 (“Title

17   VII”) and the Washington Law Against Discrimination (“WLAD”), Rev. Code Wash. (“RCW”) §

18   49.60. It is undisputed that Defendant rescinded its job offer to Plaintiff for the position of customer

19   service representative because it learned she was in a same-sex marriage. Although Defendant is a

20   religious organization, the First Amendment ministerial exception does not apply here. Neither Title

21   VII’s co-religionist exemption nor any other statute immunizes Defendant from liability for its

22   blatant unlawful discrimination.

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 1                    II.         UNDISPUTED FACTS RELEVANT TO THIS MOTION

 2   A.         Defendant Extends an Offer of Employment to Plaintiff

 3              Plaintiff is an openly gay woman. Exhibit (“Exh.”1) 9 to Declaration of Casimir Wolnowski

 4   (dated Apr. 11, 2023) at 64:12-13, 85:24-86:1, 92:2. She became engaged to her girlfriend in

 5   November 2019, and they got married in September 2020. Id. at 29:10-11. Plaintiff became pregnant

 6   around June 2020 via a sperm donor from a “cryobank.” Id. at 35:1-63, 6:20-22. Their child was

 7   born on March 6, 2021. Id. at 43:9-12.

 8              In or around November or December 2020, Plaintiff saw a job posting for the position of

 9   customer service representative with Defendant on the website Indeed.com. Exh. 9, at 139:18-22;

10   148:22-25; Exh. 10, at 12:3-8. In brief, according to the job description, a customer service

11   representative fields inbound calls and makes outbound calls to donors and potential donors utilizing

12   a “standard script” in order to “sell” and “up-sell” those individuals on World Vision products and

13   programs. Exh. 1. (The job posting in its entirety can be found at Exh. 1.)

14              According to Defendant’s “applicant tracking system,” Plaintiff submitted her job

15   application materials on or about November 25, 2020. Exh. 2; Exh. 9, at 186:14-24; Exh. 11, at

16   15:24-16:4; 110:12-15. Following an interview process, a verbal offer of employment was

17   definitively made to Plaintiff on January 4, 2021. Exh. 11, at 46:24-47:6; 112:10-14. The following

18   day, a formal written offer letter of employment was sent to Plaintiff (dated January 5, 2021). Exh.

19   3; Exh. 11, at 47:24-48:6. The letter stated, in pertinent part: “On behalf of [Defendant], I am pleased

20   to provide you with this letter as written confirmation of our verbal offer for the full-time position

21   of Donor/Customer Service Representative (DCR Trainee) commencing 2/1/2021.” Exh. 3.

22
     1
       All exhibits cited herein (i.e., as “Exh. __”) are references to exhibits attached to the Declaration of Casimir Wolnowski
23   dated April 11, 2023.

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 1   B.         Defendant Becomes Aware of Plaintiff’s Sexual Orientation and Same-Sex Marriage

 2              On January 5, 2021, Plaintiff sent an email to an individual named Catherine Miolla

 3   (“Miolla”)—who held the position of talent acquisition partner of human resources with Defendant,

 4   Exh. 11, at 11:23-12:5—which read:

 5              Hey there, I just have a quick question! My wife and I are expecting our first baby in
                March and I wanted to see if I would qualify for any time off since I’ll be a new
 6              employee? I will be the one having the baby so I just wanted to check to see if any
                time would be allowed off. If not, no worries, thanks so much!
 7
     Exh. 4.
 8
                Shortly thereafter, an individual named Christine Talbot (“Talbot”)—who at the time held
 9
     the position of senior vice president of human resources with Defendant, Exh. 12, at 11:16-21—
10
     became aware that Plaintiff had sent an email “with the follow-up question” of the nature described
11
     above. Exh. 12, at 19:22-20:6. According to Talbot, “[t]he nature of the email raised a question as
12
     to whether or not [Plaintiff] was able to be in compliance with [Defendant’s] required standards of
13
     conduct.”2 As to this, Talbot clarified that “in [Plaintiff’s January 5, 2021] email, [Plaintiff] self-
14
     identifies herself being married to another woman. And [Defendant’s] standards of conduct require
15
     … to be eligible for employment, [ ] that a job applicant or a job offeree affirm their ability to live
16
     according to [Defendant’s] standards of conduct which specifically names marriage to be a biblical
17
     covenant between a man and a woman.” Exh. 12, at 21:18-25. In light of this email, Talbot also
18
     formed a belief that Plaintiff might be gay. Exh. 12, at 25:8-22.
19
     C.         Defendant Rescinds the Job Offer Extended to Plaintiff
20

21
     2
       The precise World Vision standard of conduct to which she was referring reads, in full: “Examples of behaviors that
22   we believe are not in alignment with our standards of conduct and therefore unacceptable behavior for employees
     include: Any sexual conduct outside of a marriage; (pause) [World Vision] defines marriage as between a man and a
23   woman.” Exh. 5; Exh. 12, at 21:18-25.

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 1          Shortly after being made aware of the contents of Plaintiff’s January 5, 2021, email, Talbot

 2   determined that “if [Plaintiff] was indeed in a same-sex marriage and unable to comply with

 3   [Defendant’s] standards of conduct, that the job offer would, based on [Defendant’s] policy, need to

 4   be rescinded.” Exh. 12, at 46:17-20. As such, Talbot concluded that the offer of employment

 5   extended by Defendant to Plaintiff would be rescinded on the basis of the “inability for [Plaintiff] to

 6   meet one of the fundamental requirements of employment with [Defendant], which [was] affirming

 7   and complying with the standards of conduct which were described in the interview process,” Exh.

 8   12, at 58:11-24, in that she was in a same-sex marriage. Exh. 12, at 29:2-9. Talbot alone made the

 9   ultimate decision to rescind the offer of employment extended to Plaintiff by Defendant, Exh. 12, at

10   60:3-20; Exh. 13, at 74:4-10, and the reason described above was the one and only reason. Exh. 12,

11   at 58:22-24.

12            On January 8, 2021, Miolla emailed Plaintiff and rescinded the job offer. Exh. 6. While

13   Talbot couldn’t recall the specifics of directing someone to inform Plaintiff of Defendant’s decision

14   to rescind the job offer, given her position, Talbot would have been the one who directed a

15   communication to the job offeree informing her of the decision. Exh. 12, at 64:22-65:2.

16            In light of this email, Plaintiff and certain individuals employed by Defendant participated

17   in a telephone call later that same day (January 8, 2021). Exh. 13, at 98:21-99:2. The two participants

18   from Defendant on this call were Melanie Freiberg (“Freiberg”)—who held the position of “HR

19   Director talent management,” Exh. 13, at 11:14-16—and Miolla. Exh. 13, at 100:10-14. During this

20   telephone call, the following exchange occurred, in pertinent part:

21            Plaintiff: So, um, the offer’s being—what’s that word? Sorry.
              Freiberg: Basically, pulled back.
22            Plaintiff: Okay. Is—is that because I’m in a same-sex relationship?
              Freiberg: Well, it is because, um, the standards of conduct, yeah, are to not have any
23            sexual [ ] conduct outside of marriage, and marriage is defined as being between a

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 1            man and a woman. So that’s—that’s the behavior that all employees have to comply
              with.
 2
     Exh. 13, at 105:17-106:5; 106:21-24.
 3
              On January 8, 2021, Miolla updated Defendant’s applicant tracking system confirming that
 4
     the job offer made to Plaintiff had definitively been rescinded. Exh. 2; Exh. 11, at 112:15-113:4.
 5
                                            III.      ARGUMENT
 6
              Federal Rule of Civil Procedure 56(a) provides a court “shall grant summary judgment if
 7
     the movant shows that there is no genuine dispute as to any material fact and the movant is entitled
 8
     to judgment as a matter of law.”
 9
              Both Title VII and WLAD prohibit discharge or discrimination in the terms or conditions
10
     of employment because of sex and sexual orientation. 42 U.S.C. § 2000e-2(a)(1); Bostock v. Clayton
11
     Cty., 140 S. Ct. 1731, 1754 (2020); RCW § 49.60.030(1); Davis v. Port Angeles Sch. Dist., Case No.
12
     C20-5448-BHS-SKV, 2021 U.S. Dist. LEXIS 254455, at *23 (W.D. Wash., Oct. 1, 2021). Further,
13
     “under the WLAD, ‘it is an unfair practice for any employer ... to discharge or bar any person from
14
     employment because of [his or her]... marital status ... .’.” Busey v. Richland Sch. Dist., 172 F. Supp.
15
     3d 1167 (E.D. Wash. 2016) (quoting RCW § 49.60.180(2) (edit omitted)).
16
              A plaintiff does not have to rely on the McDonnell Douglas framework to prove a case of
17
     disparate treatment. See Costa v. Desert Palace, Inc., 299 F.3d 838, 855 (9th Cir. 2002) (en banc),
18
     aff’d, 539 U.S. 90 (2003). Nor does she need to identify a similarly situated individual who was
19
     treated better in order to prevail. See Pac. Shores Props., LLC v. City of Newport Beach, 730 F.3d
20
     1142, 1158 (9th Cir. 2013) (citing McGinest v. GTE Serv. Corp., 360 F.3d 1103, 1122 (9th Cir. 2004)
21
     (Title VII context) (other citation omitted)). Instead, she may “simply produce direct or
22
     circumstantial evidence demonstrating that a discriminatory reason more likely than not motivated
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 1   the [employer]” and that the employer’s actions adversely affected the plaintiff in some way.

 2   McGinest, 360 F.3d at 1122; See Pac. Shores Props., 730 F.3d at 1158.

 3            Direct evidence, in the context of a discrimination claim, is defined as “‘evidence of

 4   conduct or statements by persons involved in the decision-making process that may be viewed as

 5   directly reflecting the alleged discriminatory attitude ... sufficient to permit the fact finder to infer

 6   that that attitude was more likely than not a motivating factor in the employer’s decision.’” Enlow v.

 7   Salem-Keizer Yellow Cab Co., 389 F.3d 802, 812 (9th Cir. 2004) (quoting Walton v. McDonnell

 8   Douglas Corp., 167 F.3d 423, 426 (8th Cir. 1999)); see also Freitas v. Kyo-Ya Hotels & Resorts,

 9   LP, CIVIL NO. 12-00358; CIVIL NO. 12-00359 SOM/KSC (Consolidated Cases), 2013 U.S. Dist.

10   LEXIS 163938, at *12 (D. Haw. Nov. 18, 2013) (Title VII context). Here, direct evidence—Talbot’s

11   deposition testimony—establishes that Defendant rescinded its job offer to Plaintiff because it

12   learned she was in a same-sex marriage.

13   A.       Plaintiff Legal Claims are Established as a Matter of Law

14            a.      Sex and Sexual Orientation Discrimination Under Title VII and the WLAD

15            Title VII provides that it is an “unlawful employment practice” for an employer “to fail or

16   refuse to hire or to discharge any individual, or otherwise to discriminate against any individual with

17   respect to his compensation, terms, conditions, or privileges of employment, because of such

18   individual’s … sex …” 42 U.S.C. § 2000e-2(a)(1). “Discrimination based on sexual orientation

19   amounts to discrimination based on sex under Title VII.” Defrancesco v. Arizona Bd. of Regents,

20   No. 21-16530, 2023 U.S. App. LEXIS 1270, at *3 (9th Cir. Jan. 19, 2023) (citing Bostock, 140 S.

21   Ct. at 1741). Notably, “[a]n employer who fires an individual for being homosexual … fires that

22   person for traits or actions it would not have questioned in members of a different sex. Sex plays a

23   necessary and undisguisable role in the decision, exactly what Title VII forbids.” Bostock, 140 S. Ct.

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 1   at 1737.

 2              The WLAD prohibits discharge or discrimination in the terms and conditions of

 3   employment due to sex and sexual orientation. See, e.g., Davis 2021 U.S. Dist. LEXIS 254455, at

 4   *12 (citing RCW § 49.60.030(1)).

 5              Discrimination against an employee because she is in a same-sex marriage is per se

 6   unlawful sex discrimination because “changing the employee’s sex would have yielded a different

 7   choice by the employer….” Bostock, 140 S. Ct. at 1741. As set forth below, it is undisputed that if

 8   Plaintiff had been a man, Defendant would not have rescinded its job offer because she was married

 9   to a woman. Therefore, Plaintiff’s sex played “an unmistakable and impermissible role” in

10   Defendant’s decision to revoke its job offer to her because she was in a same-sex marriage. Id. at

11   1741-42. Furthermore, Defendant’s policy of employing men who are married to women but not

12   women who are married to women constitutes unlawful “sex-plus” discrimination. See, e.g., Phillips

13   v. Martin Marietta Corp., 400 U.S. 542 (1971).

14              A plaintiff establishes a Title VII violation by showing that the employer took an adverse

15   action because of sex. See Bostock, 140 S. Ct. at 1739. “So long as the plaintiff’s sex was one but-

16   for cause of that decision, that is enough to trigger the law.” Id. “When it comes to Title VII … a

17   defendant cannot avoid liability just by citing some other factor that contributed to its challenged

18   employment decision.” Id. “It doesn’t matter if other factors besides the plaintiff’s sex contributed

19   to the decision.” Id. at 1741. “[T]he law makes each instance of discriminating against an individual

20   employee because of that individual’s sex an independent violation of Title VII.” Id. at 1742.3

21
     3
      In a Title VII discrimination case, liability can sometimes follow even if sex wasn’t a but-for cause of the challenged
22   employment decision but merely “a motivating factor.” Bostock, 140 S. Ct. at 1740 (citing 42 U.S.C. § 2000e-2(m)).
     See also Costa, 299 F.3d at 854. By contrast, proof of but-for causation is always a path to relief under Title VII. See
23   Bostock, 140 S. Ct. 1739-40.

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 1             “Because of” as used in the WLAD means only that a protected characteristic be “a

 2   substantial factor” in the employment decision. A “‘substantial factor’ means that the protected

 3   characteristic was a significant motivating factor bringing about the employer’s decision.” Scrivener

 4   v. Clark College, 181 Wn.2d 439, 444-45, 334 P.3d 541 (2014). The protected characteristic does

 5   not have to be a determining factor or a but-for cause of the employer’s action. See MacKay v. Acorn

 6   Custom Cabinetry, Inc., 127 Wn.2d 302, 309-11, 898 P.2d 284 (1995).

 7             Plaintiff is entitled to summary judgment on her claims of sex discrimination under Title

 8   VII and sex and sexual orientation discrimination under the WLAD because it is undisputed that her

 9   being in a same-sex marriage was a but-for cause of Defendant’s revocation of the customer service

10   representative job offer. It is undisputed that Plaintiff was subjected to an adverse employment action

11   by her job offer being rescinded. Exh. 6; Exh. 13, at 105:17-106:5; 106:21-24; E.g., Hegwine v.

12   Longview Fibre Co., 162 Wn.2d 340, 172 P.3d 688 (2007); Palma v. County of Stanislaus, No. 1:17-

13   CV-0819 AWI EPG, 2017 U.S. Dist. LEXIS 209465 (C.D. Cal. Dec. 20, 2017). It is also undisputed

14   that Plaintiff’s being in a same-sex marriage was a but-for cause of Defendant’s decision to rescind

15   her job offer.

16             When Talbot was asked at her deposition if Plaintiff had been a man married to a woman,

17   would she have been in violation of World Vision’s standards of conduct insofar as they related to

18   same-sex marriage, she replied: “If [Plaintiff] was a man and was married to a woman and was

19   willing to affirm, you know, living in accord with the standards of conduct, not in a same-sex

20   marriage, but married to someone of the opposite sex, that would make [Plaintiff] eligible for

21   employment as it related to that particular requirement.” Exh. 12, at 68:12-69:5. Freiberg reiterated

22   this at her deposition:

23             Q: And so is it possible that somebody could be in alignment with [Defendant’s]

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 1            standards of conduct as it relates to same-sex marriage, but yet be in a same-sex
              marriage?
 2            A: It would not be possible in a same-sex marriage to comply with the expectation
              surrounding marriage.
 3
      Exh. 13, at 102:15-22.
 4
              In sum, World Vision revoked its job offer to Plaintiff because of a hiring policy that
 5
     facially discriminates with respect to sex and sexual orientation because it prohibits the employment
 6
     of any individual who is in a same-sex marriage. Defendant admits it would not have rescinded its
 7
     employment offer to Plaintiff if she had been a man married to a woman. Therefore, Plaintiff is
 8
     entitled to summary judgment on her claims of sex discrimination under Title VII, and sex and sexual
 9
     orientation discrimination under the WLAD.
10
              b.      Discrimination Based on Marital Status Under the WLAD
11
              The WLAD marital status protection makes it unlawful for an employer to discriminate
12
     because of “marital status.” RCW § 49.60.180(3). “Marital status” is the legal status of being
13
     “married, single, separated, divorced, or widowed.” RCW § 49.60.040(7). Under the WLAD, a
14
     prevailing plaintiff must demonstrate that the employer (1) acted with a discriminatory motive and
15
     (2) the discriminatory motivation was a “significant or substantial factor” in an employment
16
     decision. Busey v. Richland Sch. Dist., 172 F. Supp. 3d 1167, 1180 (E.D. Wash. 2016) (citation
17
     omitted). Where, as here, the employer takes an adverse action because the employee has engaged
18
     in “extra-marital” sexual conduct, the employer has engaged in marital status discrimination in
19
     violation of the WLAD because “the status and conduct are so directly linked.” Id. at 1181.
20
              Here, it is undisputed that Plaintiff’s marital status was at least a substantial factor in (and
21
     was, in fact, a but-for cause in) Defendant’s decision to rescind the job offer formally extended to
22
     her on January 5, 2021. Significantly, Talbot testified to the following:
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 1            Our standards of conduct at World Vision specifically say to the job candidate that a
              requirement for being employed is the willingness and ability to affirm and live in
 2            compliance with our standards of conduct, a component of which references the
              biblical covenant of a marriage between a man and a woman. If an applicant is unable
 3            or unwilling to affirm and comply with that standard, they’re not eligible for
              employment.
 4
     Exh. 12, at 47:3-12 (emphasis added).
 5
              Talbot testified that an applicant’s being gay, in and of itself, would not be the basis for
 6
     Defendant rescinding a job offer. Exh. 12, at 45:22-46:8. Thus, had Plaintiff been merely gay and
 7
     unmarried, her offer of employment would not have been rescinded. In other words, the fact that she
 8
     was married to a woman was indisputably a substantial factor in her suffering an adverse
 9
     employment action. Therefore, she is entitled to summary judgment on her marital status
10
     discrimination claim.
11
     B.       All of Defendant’s Affirmative Defenses Fail as a Matter of Law
12
              Defendant’s Answer asserts 44 separate affirmative defenses. Dkt. No. 14 at pp. 12-17.
13
     Most of them are threadbare, make sweeping conclusions, and are devoid of any facts. Such defenses
14
     do not provide “enough factual content to identify the factual grounds on which an affirmative
15
     defense rests” and therefore are inadequate to “provide fair notice to a plaintiff….” E.g., Rosen v.
16
     Masterpiece Marketing Group, LLC, 222 F. Supp. 3d 793, 802 (C.D. Cal. 2016). “Fair notice
17
     generally requires that the defendant state the nature and grounds for the affirmative defense.” Kaiser
18
     v. CSL Plasma Inc, 240 F. Supp. 3d 1129, 1134 (W.D. Wash. 2017). A plaintiff is entitled to
19
     summary judgment with respect to improperly pled affirmative defenses. Id. Plaintiff has addressed,
20
     both above and below, the merits of the affirmative defenses as to which she has fair notice and can
21
     respond. With respect to the rest, Plaintiff requests summary judgment based on Defendant’s failure
22
     to comply with Fed. R. Civ. P. 8(c).
23

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 1            a.      Title VII’s Statutory Exemption for Religious Employers Does Not Apply

 2            The first affirmative defense raised by Defendant in its Answer avers that Plaintiff’s claims

 3   are barred pursuant to the religious employer exemption, 42 U.S.C. § 2000e-1(a). Dkt. No. 14, at p.

 4   12. That provision reads in its entirety as follows:

 5            [42 U.S.C. §§ 2000e et seq.] shall not apply to an employer with respect to the
              employment of aliens outside any State, or to a religious corporation, association,
 6            educational institution, or society with respect to the employment of individuals of a
              particular religion to perform work connected with the carrying on by such
 7            corporation, association, educational institution, or society of its activities.

 8   42 U.S.C. § 2000e-1(a).

 9          It is settled law in the Ninth Circuit that this provision bars only religious discrimination

10   claims brought against a religious employer. Spencer v. World Vision, Inc., 633 F.3d 723, 724 (9th

11   Cir. 2011) (per curiam) (“World Vision, Inc. qualifies as an entity exempt under 42 U.S.C. § 2000e-

12   1(a) from Title VII’s general prohibition against religious discrimination”). To this end, “the Ninth

13   Circuit, however, has squarely limited the federal exemption to barring claims of religious

14   discrimination, holding that while ‘religious institutions may base relevant hiring decisions upon

15   religious preferences, they are not immune from liability for discrimination’ on other grounds

16   protected by Title VII.” Richardson v. Northwest Christian Univ., 242 F. Supp. 3d 1132, 1153 (D.

17   Or. 2017) (quoting E.E.O.C. v. Fremont Christian Sch., 781 F.2d 1362, 1366 (9th Cir. 1986) (edits

18   omitted)); see also EEOC v. Pacific Press Pub. Ass’n., 676 F.2d 1272, 1279 (9th Cir. 1982)

19   (although Congress permits religious organizations to discriminate in favor of members of their own

20   faith, religious employers are not immune from liability for discrimination based on sex).

21          Here, with respect to Title VII, Plaintiff alleges only a claim of sex discrimination. Plaintiff

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 1   does not allege that she suffered discrimination on account of her religion.4 Therefore, Defendant’s

 2   Title VII affirmative defense based on the religious employer exemption fails as a matter of law.

 3   Accordingly, Plaintiff is entitled to summary judgment on this affirmative defense.

 4                 b.       The Ministerial Exception Does Not Bar Plaintiff’s Claims

 5                 Defendant’s affirmative defense that Plaintiff’s statutory discrimination claims are barred

 6   by the First Amendment’s ministerial exception, Affirmative Defense 7, Dkt. No. 14 at p. 14, also

 7   fails as a matter of law. The U.S. Supreme Court first recognized this exception in Hosanna-Tabor

 8   Evangelical Lutheran Church & Sch. v. EEOC, 565 U.S. 171 (2012). The Court held that the

 9   exception bars “an employment discrimination suit brought on behalf of a minister, challenging her

10   church’s decision to fire her.” Id. at 196. In that case, the U.S. Supreme Court held that the

11   determination of whether a particular employee qualifies as a minister should be made on a case-by-

12   case basis, stating “[w]e are reluctant, however, to adopt a rigid formula for deciding when an

13   employee qualifies as a minister.” Id. at 190. The Supreme Court relied on the following factors in

14   its analysis: “the formal title … the substance reflected in that title, her own use of that title, and the

15   important religious functions … performed for the Church.” Id. at 192. The ministerial exception is

16   an “affirmative defense … not a jurisdictional bar.” Id. at 195 n.4. Therefore, an employer who

17   asserts the ministerial exception as defense has the burden of proving it. DeWeese-Boyd v. Gordon

18   College, 487 Mass. 31, 43, 163 N.E.3d 1000 (2021) (citing Hosanna-Tabor, 565 U.S. at 195 n.4).

19   The Supreme Court revisited the ministerial exception in Our Lady of Guadalupe School v.

20   Morrissey-Berru, 140 S. Ct. 2049 (2020). In that case, the Court clarified the Hosanna-Tabor test

21   and ruled that the ministerial exception applies to employees with “vital religious duties,” or those

22
     4
23       In any event, Plaintiff is Christian. Exh. 9, at 14:8-11.

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 1   “playing a vital part in carrying out the mission of the church,” and whose roles are important “in

 2   the life of the religion” according to the employer. Id. at 2064-2066. Courts are “to take all relevant

 3   circumstances into account and to determine whether each particular position implicate[s] the

 4   fundamental purpose of the exception.” Id. at 2067. The job of customer service representative which

 5   Defendant offered Plaintiff does not come close to meeting these legal standards.

 6            “What matters, at bottom, is what an employee does.” Id. at 2064. What the customer

 7   service representative position at issue in this case does can be gleaned from the job description

 8   Defendant posted (Exh. 1). Under the section “The Job,” it reads:

 9            As a Customer Service Representative, you will participate in a training program to
              gain a working knowledge and understanding of the position and to perform the
10            essential functions of the job at a level of performance that consistently meets
              expectations. You will learn, understand and develop the skills necessary to acquire
11            and maintain donor relationships through basic inbound and outbound calls. Serve
              as a liaison between donors and the general public as well as provide basic levels of
12            customer service for all special programs. Help carry out our Christian organization’s
              mission, vision, and strategies. Personify the ministry of World Vision by witnessing
13            to Christ and ministering to others through life, deed, word and sign. You will also
              …
14
              1. Keep Christ central in our individual and corporate lives. Attend and participate
15            in the leadership of devotions, weekly Chapel services, and regular prayer.

16            2. Maintain reliable, regular attendance. Report to work on time and return from
              breaks and lunches on time.
17
              3. Under supervision, learn to answer inbound customer service calls and make
18            outbound calls, to current and potential donors in response to all media presentations
              and World Vision products and services. Answer incoming calls using an Automated
19            Call Distribution system utilizing a standard script for guidance. Recognize and
              respond to up-sell opportunities and actively cross-sell other [World Vision]
20            programs when appropriate.

21            4. Through training and active participation, gain the skills necessary to assess
              callers’ needs and input information accurately and efficiently using data entry and
22            ten-key skills.

23            5. Achieve and maintain an acceptable level of individual statistics to accomplish

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 1             Call Center business goals.

 2             6. Develop skills to utilize technology for maintaining and updating donor
               information as appropriate.
 3
               7. Accepts constructive feedback and welcomes instruction and direction.
 4
               8. Under supervision, research and effectively respond to inquiries utilizing a variety
 5             of resource materials and methods.

 6             9. Learn and effectively communicate World Vision’s involvement in ministries and
               projects around the world.
 7
               10. Work collaboratively with team members.
 8
               11. Be sensitive to Donor’s needs and pray with them when appropriate.
 9
               12. Perform other duties as assigned.
10
               13. Keep informed of organizational announcements, activities and changes via
11             regular reading of the WVUS Intranet and other corporate communication
               tools.
12
     Exh. 1.
13
               Nothing about the job title of customer service representative or Donor/Customer Service
14
     Representative (DCR Trainee) in any way implies that the position is ministerial in nature. See
15
     Palmer v. Liberty Univ., CASE NO. 6:20-cv-31, 2021 U.S. Dist. LEXIS 248963, at *15 (W.D. Va.
16
     2021) (“nothing about [Plaintiff’s] job title or the way that [Defendant] held her out indicates that
17
     she was a minister.”), appeal filed (Dec. 29, 2021). The job title of customer service representative
18
     is purely secular. Also, there is nothing in the job description that indicates that a customer service
19
     representative undertakes “vital religious duties,” those “vital [ ] in carrying out the mission of the
20
     church,” or whose role is important “in the life of the religion.” Cf. Our Lady of Guadalupe, 140 S.
21
     Ct. at 2064, 2066. As the job description makes clear, the main duties of the customer service
22
     position relate to furthering Defendant’s charitable activities and are entirely secular.
23

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 1            Indeed, the customer service job description merely touches upon religion, but only

 2   vaguely. The religious aspects, of which there are only arguably three, are:

 3            Help carry out our Christian organization’s mission, vision, and strategies.
              Personify the ministry of World Vision by witnessing to Christ and ministering to
 4            others through life, deed, word and sign;

 5            Keep Christ central in our individual and corporate lives. Attend and participate in
              the leadership of devotions, weekly Chapel services, and regular prayer; and,
 6
              Be sensitive to Donor’s needs and pray with them when appropriate.
 7

 8   Critically, Defendant does not hold customer service representatives out to the public as ministers.

 9   Cf. Hosanna-Tabor, 565 U.S. at 191. There is no requirement that a candidate for this position have

10   any formal religious educational training. Exh. 10, at 13:13-21. In fact, there is no requirement to

11   have had any religious training whatsoever to hold the customer service representative position to

12   which Plaintiff applied. Exh. 10, at 14:22-15:3. The only formal education requirement for an

13   applicant for the customer service position is to be a high school graduate or have a GED equivalent.

14   Exh. 10, at 13:22-14:3.

15          Upon the conclusion of training as a customer service representative, there is no process for

16   commissioning a customer service representative as a minister. Exh. 10, at 15:19-16:3. Cf. Hosanna-

17   Tabor, 565 U.S. at 191. Per the job description, the tasks associated with the customer service

18   representative position are to “learn, understand and develop the skills necessary to acquire and

19   maintain donor relationships through basic inbound and outbound calls. … [s]erve as a liaison

20   between donors and the general public as well as provide basic levels of customer service for all

21   special programs.” Exh. 1. When Freiberg, who was Defendant’s 30(b)(6) designee, was asked

22   whether the main duty of a customer service representative is to “acquire and maintain donor

23   relationships through the basic inbound and outbound calls,” she agreed. Exh. 10, at 20:20-24.

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 1   Although not dispositive, the amount of time an employee spends on secular versus religious duties

 2   is relevant to whether that employee falls within the ministerial exception. Hosanna-Tabor, 565 U.S.

 3   at 194. Here, it is undisputed that customer service representatives spend most of their time

 4   performing secular customer service duties.

 5          Customer service representatives receive inbound calls from individuals who are “potentially

 6   existing donors or may be looking to donate” or customer service representatives will “make

 7   outbound calls to existing donors.” Exh. 10, at 22:10-18. Customer service representatives learn of

 8   existing donors’ identities through access to a database maintained by Defendant. Exh. 10, at 22:19-

 9   23. Donors are predominantly Christian, but not exclusively. Exh. 10, at 22:24-23:4.

10          One of the enumerated job requirements listed above (#11) reads: “Be sensitive to Donor’s

11   needs and pray with them when appropriate.” Freiberg testified that while praying with donors is

12   encouraged, it is not a requirement for the position of a customer service representative. Exh. 10, at

13   24:2-11. In fact, in a “guidance document,” Exh. 10, at 26:20-25, bearing the heading “Showing

14   Empathy on a Call During a Crisis (Talking Points)”—which was a document used to assist customer

15   service representatives in communicating with donors—under each heading there is a sentence

16   which reads: “If comfortable, offer to pray with the donor over the phone.” Exh. 14. Freiberg testified

17   that this sentence is intended to inform the customer service representative that he or she has a choice

18   to offer to pray rather than it being mandatory, and that “there is not … disciplinary action if [the

19   customer service representatives] don’t pray [with donors].” Exh. 10, at 30:14-23.

20          Defendant provides to all its employees a document entitled “Giving Word to Our Faith”

21   framework (abbreviated shorthand as “GWF Framework”), which “references [Defendant’s] beliefs

22   in terms of what [it] believe[s], what [it] experiences in the world, and how [it] guide[s] messaging

23   around our Christian faith.” Exh. 10, at 32:5-12. The GWF Framework states: “The Giving Word to

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 1   our Faith messaging framework is guidance to enable us to speak boldly and unapologetically to

 2   people of various contexts about what our faith and Christian identity mean for our work.” Exh. 7.

 3   Further, a handbook on the GWF Framework advises that it is intended to be utilized “[t]o create

 4   clarity and understanding about how our faith influences our work.” Exh. 8, at p. WV-006121.

 5          The framework document states: “The examples provided below are indicative only and

 6   based on insights about contextual audiences gathered during workshops. End users will need to

 7   articulate their own insights for their audiences and apply the framework accordingly.” Exh. 7.

 8   Freiberg made clear that these two sentences communicate to employees that it is their choice

 9   whether or not to implement these ideas and “provides some discretion on how to utilize [the

10   framework].” Exh. 10, at 40:15-21.

11          Accordingly, the limited religious functions performed by customer service representatives

12   are not job requirements. The customer service representative job description encourages but does

13   not mandate those employees to pray with potential donors, and if a customer service representative

14   chooses not to pray with donors, he or she is not subject to any disciplinary action. Moreover, the

15   GWF Framework and the insights contained therein for communicating with others is not

16   mandatory. Instead, they advise that employees will need to articulate their own insights for their

17   audiences and apply the framework accordingly, or not at all. If a customer service representative

18   wishes to abandon the use of the GWF Framework messaging in carrying out his or her job, or

19   interpret its use however he or she wants, he or she has every right to do so without fear of discipline.

20   In short, the relatively minor religious aspects of the customer service position job description are

21   not required duties of the position.

22          With respect to so much of the job requirement that mandates customer service

23   representatives to “Attend and participate in the leadership of devotions, weekly Chapel services,

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 1   and regular prayer” (i.e., #1), Freiberg testified that every customer service representative or trainee

 2   was required to attend “devotions” when the “entire donor contact center shuts down” and that every

 3   representative would attend chapel. Exh. 10, at 43:18-44:3. Freiberg characterized participating in

 4   devotions as an “indirect” way in which World Vision staff members teach the word of the Lord and

 5   that this is accomplished through “sharing Scripture” or “things that they have heard [ ] within their

 6   church.” Exh. 10, at 16:4-16. Notably, participating in devotions is a function tasked to every World

 7   Vision employee. Exh. 11, at 124:24-125:7; Exh. 13, at 22:11-19. Defendant contends that teaching

 8   the word of the Lord is an essential function of every position at World Vision on account of working

 9   “in a Christian organization and bearing witness of Christ.” Exh. 10, at 17:3-21. Freiberg even went

10   a step further and remarked that teaching the word of the Lord is a main function of simply “being

11   Christian” in general, Exh. 10, at 18:7-21, being a “representative of Christ,” Exh. 10, at 16:22-25,

12   and in essence, that working for a Christian organization per se obligates one to teach the Christian

13   faith, whether it be to co-workers, donors, or basically anyone.

14          While Defendant, as a religious organization, has the right to require its employees to

15   perform religious functions, its doing so does not make every employee a “minister” under the First

16   Amendment. One of the factors the U.S. Supreme Court found significant in Hosanna-Tabor in

17   holding that the employee fell within the ministerial exception was that she had “a role distinct from

18   that of most of [the church’s] members.” 565 U.S. at 191. It is undisputed the religious aspects of

19   the customer service representative position also apply to Defendant’s employees generally.

20   Defendant’s argument that working for a religious organization in some capacity that furthers its

21   religious mission automatically triggers the ministerial exception is contrary to law.

22          Other cases involving the ministerial exception demonstrate its inapplicability here. In

23   Hosanna-Tabor, the plaintiff, Perich, was employed by an evangelical Lutheran church and school

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 1   as a “called teacher” who taught a religion class four days a week and led her students in prayer three

 2   times a day. 565 U.S. at 192. Perich held herself out as a minister and the church held her out as a

 3   minister as well. Id. at 191-92. “In light of these considerations—the formal title given Perich by the

 4   Church, the substance reflected in that title, her own use of that title, and the important religious

 5   functions she performed for the Church—we conclude that Perich was a minister covered by the

 6   ministerial exception.” Id. at 192.

 7          In Our Lady of Guadalupe, the plaintiff was employed by a Roman Catholic primary school

 8   as a “lay fifth or sixth grade teacher” and part of the curriculum she taught included religion. 140 S.

 9   Ct. at 2056. Like the teacher in Hosanna-Tabor, the teacher in Our Lady of Guadalupe “performed

10   vital religious duties.” Id. at 2066. Underlying both these decisions was the Supreme Court’s

11   recognition that “educating young people in their faith, inculcating its teachings, and training them

12   to live their faith are responsibilities that lie at the very core of the mission of a private religious

13   school.” Id. at 2064.

14          Similarly, in Starkey v. Roman Catholic Archdiocese of Indianapolis, Inc., the plaintiff was

15   “entrusted with communicating the Catholic faith to children, supervising guidance counselors, and

16   advising the principal on matters related to the school’s religious mission.” 41 F.4th 931, 940 (7th

17   Cir. 2022) (edits omitted). As in Hosanna-Tabor, the school held the employee out as minister. Id.

18   She was identified as a “minister of the faith” in her job description and employed under a “Ministry

19   Contract.” Accordingly, the ministerial exception barred the plaintiff’s discrimination claims. Id. at

20   942.

21          However, not every teacher who has some religious responsibilities falls within the

22   ministerial exception. In Palmer v. Liberty Univ., CASE NO. 6:20-cv-31, 2021 U.S. Dist. LEXIS

23   248963, at *15 (W.D. Va. Dec. 1, 2021), appeal filed (Dec. 29, 2021), the plaintiff was an art

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 1   professor for a Christian university. In determining the ministerial exception did not apply to the

 2   plaintiff, the court balanced the four Hosanna-Tabor factors5 as addressed above. The court found

 3   that the plaintiff’s job duties were primarily secular, even despite praying with her students and

 4   starting each class session with a prayer and attending convocation with her students. The plaintiff

 5   had no formal religious training. Id. at *15. Neither the plaintiff nor the school held her out as a

 6   minister. The fact that the plaintiff and the school regarded her as a “Christian teacher” did not make

 7   her a minister. Id. at *14. Lastly, the court concluded that “the evidence in the record [did] not

 8   support that [the plaintiff] did anything more ministerial, such as … giving religious lessons” and

 9   emphasized that “[t]he question is not what [the plaintiff] was supposed to do or encouraged to do,

10   but what she actually did.” Id. at *22 (emphasis added). The court concluded because “the core

11   function” of the plaintiff’s job was secular, the ministerial exception did not apply, even though she

12   performed some religious functions such as praying with her students. Id. at *22.

13           DeWeese-Boyd v. Gordon College, 487 Mass. 31, 63 N.E.3d 1000 (2021), likewise shows

14   that just because an employee performs some religious functions for a religious organization, that

15   does not bring the employee within the ministerial exception. There, the plaintiff, who was an

16   associate professor of social work at a private Christian liberal arts college, was required to “engage

17   in teaching and scholarship from a Christian perspective and integrate her [Christian] faith into her

18   work.” Id. at 47. The college argued that this integration of religion into daily life and work is part

19   of the college’s mission for everyone in its employ, “whether they be coaches, food service workers,

20   or transportation providers.” Id. at 54. However, the Massachusetts Supreme Judicial Court

21   cautioned that “[t]he integration of religious faith and belief with daily life and work is a common

22
     5
       Palmer post-dates Our Lady of Guadalupe and makes clear that even after Our Lady of Guadalupe, the Hosanna-Tabor
23   factors are still relevant to whether a particular employee falls within the ministerial exception.

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 1   requirement in many, if not all, religious institutions.” Id. The Court recognized that expanding the

 2   ministerial exception beyond those “individuals who play certain key roles” in a religious institution

 3   to all employees who integrate faith into their work would have enormous consequences and result

 4   in the “elimination of civil law protection against discrimination.” Id. (citing Our Lady of

 5   Guadalupe, 140 S. Ct. at 2060). “[T]he ministerial exception has been carefully circumscribed to

 6   avoid unnecessary conflict with civil law.” Id. Ultimately, the DeWeese-Boyd court concluded that

 7   the plaintiff was “expected and required to be a Christian teacher and scholar, but not a minister.”

 8   Id. She was, first and foremost, a professor of social work. Id. at 47.

 9          Similarly, the job at issue here was, first and foremost, that of a customer service

10   representative. While Defendant may have expected customer service representatives to advance

11   Christian values in their work, they were not expected to be ministers. The grounds for applying the

12   ministerial exception here are even weaker than in DeWeese-Boyd and Palmer as Plaintiff had no

13   role in the religious education. The critical inquiry for whether an employee falls within the

14   ministerial exception is what the employee does, Our Lady of Guadalupe, 140 S. Ct. at 2064, not

15   what the employer does. The regular and normal day-to-day job responsibilities of the customer

16   service position at issue were predominantly acquiring and maintaining donor relationships through

17   inbound and outbound telephone calls. Those job duties and responsibilities were overwhelmingly

18   secular. The religious duties associated with the position were few and not “vital” ones. Cf. Hosanna-

19   Tabor, 565 U.S. at 2066. Customer service representatives are not ministers. This Court should reject

20   Defendant’s averment that essentially every employee who works for World Vision falls within the

21   ministerial exception.

22          Where the ministerial exception applies, an employee has no recourse under either federal or

23   state anti-discrimination laws. See DeWeese-Boyd, 487 Mass. at 42. Title VII was enacted to

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 1   implement the Equal Protection Clause of the Fourteenth Amendment. Fitzpatrick v. Bitzer, 427

 2   U.S. 445 (1976). The laws against workplace discrimination in Washington are “an explicit, well-

 3   defined, and dominant public policy.” Int’l Union of Operating Engineers v. Port of Seattle, 176

 4   Wn.2d 712, 721 (2013). While Defendant has the constitutional right “to choose those who will

 5   guide it on its way,” Hosanna-Tabor, 565 U.S. at 196, the First Amendment does not give Defendant

 6   a carte blanche exemption from the laws against employment discrimination. See DeWeese-Boyd,

 7   487 Mass. at 42. The undisputed facts here demonstrate that the customer service position does not

 8   qualify for the ministerial exception. Therefore, Plaintiff is entitled to summary judgment on

 9   Defendant’s ministerial exception affirmative defense.

10            c.      Defendant’s BFOQ Affirmative Defense Fails as a Matter of Law

11            Defendant also invokes Title VII’s bona fide occupational qualification (“BFOQ”) defense,

12   42 U.S.C. § 2000-2(e)(1). Dkt. No. 14, p. 12. That provision reads as follows:

13            [I]t shall not be an unlawful employment practice for an employer to hire and employ
              employees, for an employment agency to classify, or refer for employment any
14            individual, for a labor organization to classify its membership or to classify or refer
              for employment any individual, or for an employer, labor organization, or joint labor-
15            management committee controlling apprenticeship or other training or retraining
              programs to admit or employ any individual in any such program, on the basis of his
16            religion, sex, or national origin in those certain instances where religion, sex, or
              national origin is a bona fide occupational qualification reasonably necessary to the
17            normal operation of that particular business or enterprise.

18   42 U.S.C. § 2000e-2(e)(1). Defendant’s fifth affirmative defense relies upon the WLAD’s BFOQ

19   defense. Dkt. No. 14 at p. 13.

20            “The BFOQ defense is written narrowly, and this Court has read it narrowly.” Int’l Union,

21   United Auto., Aerospace & Ag. Implement Workers of Am., UAW, v. Johnson Controls, Inc., 499

22   U.S. 187, 201 (1991). Title VII “limits the situations in which discrimination is permissible to

23   ‘certain instances’ where sex discrimination is ‘reasonably necessary’ to the ‘normal operation’ of

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 1   the ‘particular’ business.” Id. “But the most telling is term is ‘occupational’; this indicates that these

 2   objective, verifiable requirements must concern job-related skills and aptitudes.” Id. “By modifying

 3   ‘qualification’ with ‘occupational,’ Congress narrowed the term to qualifications that affect an

 4   employee’s ability to the job.” Id.

 5             Similar to the Title VII BFOQ defense, the WLAD BFOQ applies “narrowly to jobs for

 6   which a particular quality of protected statues will be essential to or will contribute to the

 7   accomplishment of the purposes of the job.” WAC 162-16-240. To establish a BFOQ under

 8   Washington law, the employer must show that “excluding members of a particular protected status

 9   group is essential to the purposes of the job.” Hegwine v. Longview Fibre Co., 162 Wn.2d 340, 358

10   (2007) (internal quotation marks omitted). Furthermore, the employer must “establish that all or

11   substantially all persons in the excluded class would be unable to efficiently perform the duties of

12   the position at issue, and the essence of the operation would be undermined by hiring anyone in that

13   excluded class.” Id. (internal quotation marks omitted).

14             Defendant’s Title VII and WLAD BFOQ defenses both fail as a matter of law. The job

15   Defendant offered Plaintiff and later rescinded was that of a customer service representative.

16   Defendant has a facially discriminatory hiring policy that precludes the employment of individuals

17   in same-sex marriages. Put another way, Defendant requires married employees to be in a

18   heterosexual marriage as a condition of employment. Such a requirement does not even constitute

19   an “occupational qualification” within the meaning of Title VII because the requirement in no way

20   relates to the “job-related skills and aptitudes” of a customer service representative. Whether

21   Plaintiff was in a same-sex or heterosexual marriage had no impact on her ability to do the customer

22   service representative job.

23             Defendant contends that 42 U.S.C. § 2000(e)(1) allows it “to make employment decisions

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 1   based on religion—all aspects of religious observance and practice.” Affirmative Defense, Dkt. 14,

 2   p. 2. The fatal flaw in this argument, with Defendant’s religious employer argument supra, is that

 3   Plaintiff has brought a Title VII claim for sex discrimination, not religious discrimination. That’s

 4   because Defendant’s prohibition on hiring employees in same-sex marriages constitutes unlawful

 5   sex discrimination, not unlawful religious discrimination. Accordingly, Plaintiff is entitled to

 6   summary judgment on Defendant’s BFOQ defenses.

 7            d.      Defendant’s Remaining Constitutionally Based Affirmative Defenses Fail as a
                      Matter of Law.
 8
              In its Answer, Defendant asserts a hodgepodge of affirmative defenses grounded in the
 9
     First Amendment and other constitutional provisions. Most of these are limited to one sentence, e.g.,
10
     Dkt. No. 14, p. 14, at ¶¶12-15, and provide no specificity as to what facts (if any) form the bases for
11
     these defenses. What can be discerned is that Defendant suggests the overarching principle of
12
     religious autonomy bars any employment discrimination claim arising from a religious employer’s
13
     application of the religious doctrine regardless of whether the employee is subject to the ministerial
14
     exception. However, it is submitted that such an expansive reading of the church autonomy doctrine
15
     would render the ministerial exception superfluous. See Starkey v. Roman Catholic Archdiocese of
16
     Indianapolis, 496 F. Supp. 3d 1195, 1206 (S.D. Ind. 2020) (“If [a religious organization] could claim
17
     that religious autonomy protects employment decisions regardless of whether the position was
18
     religious or secular, it is not clear why the Supreme Court reaffirmed the ministerial exception’s
19
     narrow application to only those employees who have responsibilities that lie at the very core of the
20
     mission of a private religious school.”) (quotations and citation omitted).
21
              The ministerial exception is the only constitutional defense potentially available to
22
     Defendant with respect to Plaintiff’s statutory discrimination claims. Any other constitutional
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 1   defense fails as a matter of law. The Court should grant Plaintiff summary judgment with respect to

 2   Defendant’s other constitutional defenses.

 3             e.       Plaintiff’s Claims Are Not Barred Under the WLAD

 4             In its Answer, Defendant asserts that Plaintiff’s claims under the WLAD are barred

 5   pursuant to the statutory religious employer exception provided in RCW § 49.60.040(11), and to the

 6   extent that that statutory religious exception under the WLAD might be interpreted not to protect

 7   Defendant, Plaintiff’s claims under that statute are subject to and cannot survive strict scrutiny under

 8   the First Amendment. See Dkt. No. 14, p. 12, at ¶¶ 3-4. Defendant’s arguments are contrary to

 9   established law.

10             In Woods v. Seattle’s Union Gospel Mission, 197 Wn.2d 231, 481 P.3d 1060 (2021), the

11   plaintiff challenged the WLAD’s non-profit religious exception, the precise once implicated here,

12   RCW 49.60.040(11), on the grounds that allowing a religious employer to discriminate against a job

13   applicant could unlawfully infringe on his fundamental rights and said exception would therefore

14   violate Washington Constitution’s equal protection guarantee. In Woods, the Washington Supreme

15   Court found that two of plaintiff’s fundamental rights were implicated—his right to marry and his

16   right to sexual orientation—and the court determined that RCW 49.60.040(11) may be

17   constitutionally invalid as applied to that plaintiff. The court went on to state that the test that should

18   be applied in making that determination is whether or not the employee’s position fits within the

19   ministerial exception consistent with the tests laid out in Hosanna-Tabor and Our Lady of

20   Guadalupe. Id., at 250-51. Because Woods represents the Washington Supreme Court’s definitive

21   interpretation of RCW 49.60.040(11), this Court is bound by it. E.g., In re Kirkland, 915 F.2d 1236,

22   1239-39 (9th Cir. 1990).

23             As to Defendant’s averment that Plaintiff’s claims under the WLAD cannot survive a strict

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 1   scrutiny analysis, the WLAD, RCW 49.60, is a “neutral, generally applicable law subject to rational

 2   basis review.” State v. Arlene’s Flowers, Inc., 193 Wn.2d 469, 523, 441 P.3d 1203 (2019), cert.

 3   denied, 141 S. Ct. 2884 (2021). The WLAD clearly meets that standard as it is rationally related to

 4   the government’s legitimate interest in the “elimination and prevention of discrimination in

 5   employment.” RCW 49.60.010.

 6              f.       Defendant’s RFRA Affirmative Defense Also Fails as Matter of Law

 7              Defendant asserts an affirmative defense stating without any specificity: “Plaintiff’s claims

 8   are barred pursuant to the federal Religious Freedom Restoration Act, 42 U.S.C. § 2000bb-1, et seq.”

 9   Dkt. No. 14, p. 25, at ¶ 23. This assertion is contrary to Ninth Circuit law.

10              RFRA prohibits the government from burdening a person’s exercise of religion unless the

11   challenged government action is the least restrictive means of furthering a compelling government

12   interest. 42 U.S.C. § 2000bb-1. RFRA does not apply to a lawsuit between private parties. Sutton v.

13   Providence St. Joseph Med. Ctr., 192 F.3d 826, 833-34 (9th Cir. 1999); “The text of the statute makes

14   quite clear that Congress intended RFRA to apply only to suits in which the government is a party.”

15   General Conference Corp. of Seventh-Day Adventists v. McGill, 617 F.3d 402, 410 (6th Cir. 2010);

16   accord Listecki v. Official Committee of Unsecured Creditors, 780 F.3d 731, 736-37 (7th Cir. 2015)

17   (recognizing the Ninth Circuit has also held that “RFRA does not apply in suits where the

18   government is not a party”).6 Accordingly, Plaintiff is entitled to judgment as a matter of law on this

19   affirmative defense as well.

20

21
     6
        Although the Second Circuit held to the contrary in Hankins v. Lyght, 441 F.3d 96 (2d Cir. 2006), over the vigorous
22   dissent of now Justice Sotomayor, the Second Circuit has subsequently expressed “doubts” that Hankins was correctly
     decided given that the decision is contrary to the plain text of the statute. Rweyemamu v. Cote, 520 F.3d 198, 203 n.2
23   (2d Cir. 2008).

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 1                                        IV.        CONCLUSION

 2            There are no genuinely disputed issues of material fact and Plaintiff is entitled to judgment

 3   as a matter of law on her claims of discrimination on account of her sex (female), sexual orientation

 4   (gay), and marriage status (married to a person of the same sex). Accordingly, the Court should enter

 5   summary judgment in Plaintiff’s favor on all claims.

 6
              RESPECTFULLY SUBMITTED this 11th day of April 2023.
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                                                I certify that this memorandum contains 8,310 words in
14                                              compliance with the Court’s Order of April 5, 2023 (Dkt #
                                                21).
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